
644 S.E.2d 565 (2007)
In the Matter of Z.P.S. &amp; A.M.S., Minor Children.
appealed by Mother.
No. 32P07.
Supreme Court of North Carolina.
March 8, 2007.
Winifred H. Dillon, Raleigh, for Mother.
Stephen M. Schoeberle, for Burke County DSS.
Mary McKay, Attorney-Advocate, Morganton, for Guardian ad Litem.

ORDER
Upon consideration of the petition filed on the 23rd day of January 2007 by Respondent (Mother) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
